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10 Attorneys for Petitioner

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12 UNITED STATES DISTRICT COURT

13 CENTRAL DISTRICT OF CALIFORNIA

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15 Case No. 2:13-MC-00218 (SSX)

16 In the Matter of a Petition by A

. . . REPLY IN SUPPORT OF PETITION
17 Certain lnvestor in EFT Holdings Inc. TO PERPETUATE TESTIM()NY;

18 to Perpetuate Testirnony of Mr. Jack IS)[]};§:IEJGAH'¥§I%W(F)FLI SHUXIN

 

19 Qll] UIld€l‘ FRCP Rul€ 27 Hearing: July 163 2013
Tirne: 10:00 a.m.

20 Dept.: 23

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Petitioner Mr. Li Sthin respectfully submits this Reply in response to the

23 Opposition of lack Qin (the “Opposition”) to the Petition to Perpetuate Testirnony
24 of Mr. J`ack Qin (“Petition”).

25 In the Opposition, counsel for Mr. Qin argue that the Petition should be

26 denied because (1) Petitioner fails to identify any documents that have allegedly
27 been or Will be destroyed, (2) EFT’s general counsel claims that “EFT has not

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REPLY IN SUPPORT OF PETITION TO PERPETUATE TESTIMONY; DECLARATIONS ()F RONIE
M. SCHMELZ AND LI SHUXIN IN SUPPORT THEREOF

 

 

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undertaken any action to destroy documents” and purportedly all of the directors,
officers, employees and third party contractors of EFT and its subsidiaries have
executed litigation hold letters in Which they agree to suspend the Company’s
document retention/destruction policy (Whatever that is/Was), and (3) the deposition
seeks the production of documents that go beyond EFT’s document retention
policies and procedures.

Notvvithstanding the unsupported claims by EFT’s general counsel to the
contrary, as set forth in the attached Declaration of Petitioner Li Sthin
(“Petitioner’s Declaration”), there is reason to believe that hundreds of pages of
documents and information relating to EFT and its products have been destroyed.
Petitioner’s Declaration, ‘|l‘|l 3-4. Moreover, despite the carefully crafted declaration
submitted by EFT’s in-house counsel, and the litigation hold letters he attaches
thereto, neither Mr. Qin (Whose failure to submit his own declaration speaks
volumes) nor EFT have provided adequate assurance that relevant documents have
not been destroyed and that all of the entities over vvhom EFT has control are
preserving relevant documents.

As demonstrated in the Petition and belovv, Petitioner has satisfied the
requirements of Rule 27; this Court has jurisdiction over the anticipated action,
Petitioner is presently unable to bring or cause to be brought the underlying action,
and there is reason or need to perpetuate the testimony sought by the Petition. See
Rule 27, Fed. R. Civ. P.; Petition Ofthe State ofNorth Carolina, 68 F.R.D. 410
(S.D.N.Y. 1975). Accordingly, the Court should grant the Petition.

The anticipated litigation is Within this Court’s iurisdiction. As noted in
the Petition, Petitioner and thousands of other Chinese citizens Were induced by Mr.
Qin to purchase tens of millions of dollars’ Worth of EFT products Petition, 11 8.
Petitioner himself purchased in excess of $140,000 dollars’ Worth of EFT product.
Petitioner’s Declaration, 11 2. lf, after concluding his investigation, Petitioner

d$ge§(]r£ipps to file a lawsuit against Mr. Qin and EFT, as he currently eXpects, this
. _ 1 _

 

 

REPLY IN SUPPORT OF PETITION TO PERPETUATE TESTIMONY; DECLARATION OF LI
SHUXIN IN SUPPORT THEREOF

 

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Court will have`original diversity jurisdiction over such action because the amount
in controversy, i.e. the value of Petitioner’s product purchase and investment in
EFT, exceeds $75,000 (Id.), and the action will be between California citizens who
reside in this district, Mr. Qin and EFT, on the one hand, and a citizen of a foreign
state, Petitioner, on the other hand (see Petition, ‘|l‘|l 1, 4). See 28 U.S.C. § 1332.

Petitioner is currently unable to bring an action because his investigation
of potential claims is ongoing and not yet complete. As noted in the Petition,
Petitioner is currently investigating potential claims against Mr. Qin and EFT and
expects to be a party to an action cognizable in this Court, but cannot presently
bring the action or cause it to be made because the investigation is still ongoing.
Petition, 11_2; Petitioner’s Declaration, 11 5. Thus, the Rule 27 requirement that
Petitioner is presently unable to bring or cause to be brought the underlying suit is
satisfied

The Opposition posits that Petitioner has not satisfied Rule 27 because he
“fails to identify the legal claims that he currently has, but is ‘presently unable’ to
assert, against Mr. Qin or EFT.” Opposition, p. 3. Petitioner has, however,
identified the legal claims he intends to assert, i.e. fraud and misrepresentation on
his own behalf, and on behalf of others similarly situated. Petition, ‘ll 2. Petitioner
also explained that he is presently unable to bring the action because his
investigation into the facts underlying his claims are still ongoing. Petition, 11 2;
Petitioner’s Declaration, 1 5. This is more than adequate to satisfy Rule 27, which
neither requires a petitioner to disclose his legal strategy or identify the substantive
basis for claims he may assert, and the cases cited in the Opposition do not hold
otherwise. Lucas v. ]udge Advocate General, 263 Fed. App’x., 607, 608 (9th Cir.
2009) (court held that the petitioner did not meet the threshold requirement of Rule
27 because he did not even allege that he expected to be a party to an action “but is
presently unable to bring it or cause it to be brought”); State of Nevada v. O ’Leary,
63 F.3d 932, 935 (9th Cir. 1995) (the coqr_t expressly declined to determine whether

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REPLY IN SUPPORT ()F PETITION TO PERPETUATE TESTIMONY; DECLARATION OF LI
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the State of Nevada could meet the requirement of Rule 27(a)(1) that petitioner
expects to be a party to an action in a court of the United States because it found
that the State was unable to satisfy the requirements of subsection 5 , which requires
a petitioner to set forth the substance of the testimony she expects to elicit).

The recitation of cases in the Opposition that hold that Rule 27 cannot be
used as a substitute for discovery is similarly unavailing Unlike those cases,
Petitioner here does not seek discovery in order to determine which claims he can
assert against Mr. Qin or EFT; that is what his ongoing investigation is for. The
purpose of the Petition is to determine which documents have been destroyed,
whether other sources for such documents are available, and ensure that additional
documents are not destroyed. This is quite different from the cases cited in the
Opposition which denied the petitions sought. See 0 ’Leary, 63 F.3d at 935
(Nevada sought to depose 27 scientists participating in reports and studies in order
to perpetuate their testimony for use in later agency and judicial review proceedings
if it decided to later challenge anticipated government decisions); 171 re Boland, 79
F.R.D. 665, 668 (D.D.C. 1978) (the only basis for the information sought by
Petitioner was to permit her to draw a proper complaint); 171 re Fora', 170 F.R.D.
504, 506 (M.D. Ala. 1997) (petitioner admitted that she needed to take the
deposition in order to determine the basic facts and the appropriate party defendants
to enable her to file a wrongful death and federal civil rights suit in the future). The
Petition here does not seek general discovery, or attempt to ferret out information to
support substantive claims against Mr. Qin and EFT; the Petition is narrowly
tailored to determine the extent to which documents have been destroyed and

ensure that no more documents go missing.l

 

1 The other cases cited in the Opposition are similarly inapposite. See In re
Eisenberg, 654 F.2d l 107 (5th Cir. 1981) (petitioner’s civil discovery request
denied because'it was a disguised attempt at criminal discovery); Shore v. Acands,
644 F.2d 386 (5th Cir. 1981) (Rule 27 not even available as the action had been

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REPLY IN SUPPORT OF PETITION TO PERPETUATE TESTIMONY; DECLARATION OF LI
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Good cause exists to perpetuate the testimony sought by the Petition. As
Petitioner attests, up.until June 2013, he was able to access hundreds of documents
on EFT’s website relating to, among other things, Mr. Qin’s promotion of various
EFT products, communications from Mr. Qin to EFT shareholders, and the
allotment program by which shares in EFT were distributed to consumers of EFT’s
products. Petitioner’s Declaration, 1111 3-4. All of this information is now missing7
from the EFT website. Id. The information was deleted from the website after an
EFT employee told Petitioner that l\/lr. Qin knew that Petitioner and others were
conducting an investigation into the Company’s dealings, and the information is
still missing. Petition, jj 9; Petitioner’s Declaration, 11 4.

The suggestion by EFT’s in-house counsel that information is missing due to
a “temporary error with EFT’s internet server,” is neither supported nor credible.
To the contrary, the screen prompt that was displayed in early June 2013, after
counsel for Petitioner was denied access to the EFT website, strongly suggests that
her inability to access the site was not due to an innocent mechanical error, but was
instead the result of an intentional ban resulting from a security trigger set up by the
Company. See Declaration of Ronie M. Schmelz, submitted in support of the
Petition (“Schmelz Decl.”), Ex. 4.

lt is hard to envision a scenario that compels the issuance of a Rule 27

Petition more than that presented here. Hundreds of documents that had been

 

commenced a month before the Petition was filed); Ash v. Cort, 512 F.2d 909 (3rd
Cir. 1975) (plaintiff’s motion to perpetuate testimony respecting “all matters
relevant to the subject matter involved” in the action pending appeal denied because
plaintiff failed to assert reasons why it was necessary to perpetuate the testimony);
19th Street Baptisi Chiirch v. St. Peters Episcopal Chnrch, 190 F.R.D. 345 (E.D.
Pa. 2000) (in a case in which it was not at all clear that Rule 27 applied, the court
granted Plaintiff" s request to take the depositions of four individual named

plaintiffs who were between the ages of 86 and 91); State ofN.C., 68 F.R.D. at 410
(no showing that the files sought in the petition were in danger of being destroyed).

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accessible on EFT’s website for years are now missing The Company’s in-house
counsel says that “EFT has not undertaken any action to destroy documents” but
the Company can only act through its representatives and in-counsel does not say
that no one has destroyed documents. See Declaration of Pyng Soon filed in
support of the Opposition (“Soon Dec.”), 11 6. Remarkably, Mr. Qin, the individual
to whom the Petition is directed, did not submit a declaration confirming that he has
not destroyed any documents relating to EFT or its operations. All we have is
carefully crafted, unverified statement in the form of an Acknowledgment,
purportedly signed by one Jack Qin, stating that he read the litigation hold letter
and, as of June 19, 2013, agreed to follow instructions to c‘immediately suspect the
Company’s document retention/destruction policy.” See Opposition, p. 5 of 83.
The Acknowledgment, if it was signed by Mr. Qin, was executed 15 days after he
and EFT’s in-house counsel received letters from Petitioner’s counsel demanding
they preserve relevant documents.2

Petitioner is entitled to know, among other things, what Mr. Qin did to
preserve documents, if anything, between June 4, 2013 (when he received
Petitioner’s preservation demand) and June 19, 2013 (when Mr. Qin purportedly
signed the litigation hold letter). Petitioner is also entitled to know whether Mr.
Qin or anyone else at or on behalf of EFT destroyed any documents once Mr. Qin
learned of Petitioner’s investigation, what document preservation practices were in
place before Mr. Qin and EFT received the letter from Petitioner’s counsel
demanding they preserve documents, and whether the practices were followed or

deviated from in any way. And, among other things, Petitioner is entitled to

 

2 ln his Declaration, EFT’s in-house counsel acknowledges receiving the June 3,
2013 letter from Petitioner’S counsel, Ronie Schmelz, on June 4, 2013. Soon Decl.,
11 2. The letter to Mr. Qin was sent the same day as the letter to EFT’s in-house
counsel. Schmelz Decl., ‘ll 8.

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determine whether there are additional individuals or companies, other than those
who signed the litigation hold letters attached to the Opposition, who may have
destroyed documents, or who should in any event be instructed to retain
documents3 All of this is precisely the type of information Rule 27 is designed to
illicit. See e.g. Martin v. Reynolds Metals Corporation, 297 F.2d 49 (9th Cir. 1961)
(court granted Rule 27 petition where the inquiry was narrowly limited, its purpose
being to enable petitioner to discovery when relevant physical evidence is likely to
be disposed of and lost, and the location of other physical evidence that has been
transferred away and thus made less readily available).

In order to prevent a failure or delay of justice, the Court should grant the
Petition and order Mr. Qin to appear for deposition and answer questions respecting
EFT and Mr. Qin’s document retention policies and practices and recent document
destruction undertaken by Mr. Qin and/or others by or on behalf of EFT.

Moreover, as contemplated by Rule 27(a)(4), the Court should order Mr. Qin to

produce the documents identified in the Petition. See Petition, § 14.4

 

3 Noticeably absent from the Opposition is a litigation hold letter sent to EFT’s
stock transfer agent(s), who should also be instructed to retain relevant documents.
This is one example of la third-party over whom Mr. Qin and EFT have control, but
do not appear to have been instructed to meet their obligation to retain documents

4 Petitioner’s only motive for pursing the documents identified in the Petition is to
ensure that documents are preserved and can be discovered in subsequent litigation.
Petitioner has not requested the documents in order to, as suggested by the
Opposition, discovery underlying facts to support his claims. lf the Court is
concerned about the use that Petitioner might make of the documents prior to his
filing of an action against Mr. Qin and/or EFT, then Petitioner respectfully suggests
that the Court order Mr. Qin to produce the documents identified in the Petition to a
third-party custodian who will maintain the documents pending service of a
discovery demand in the anticipated action.

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For all of the foregoing reasons, as well as those set forth in the Petition,

Petitioner respectfully requests that the Court grant the Petition.

  

Dated: July 9, 2013 By:

 

Ronie M. Schmelz \

Attorneys for Petitioner Mr. Li Shuxin

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lN SU PPORT ()`fi` PETITION 'I 0 PERPE'I`UA']`E 'I ESTIMt 11le

l, lsi Shuxin, declare as follows:

l. l am the Petitioner in the e.boveweaptioned matter l set 111'\.'11.
this l_`)eclaration in support of my Petition to Perpetuote the '.`l`estithurry of
Mr. luck Qin (:“Petition”), and in response to Mr. Qin’s C)ppositith;t to the l
Petition. l have personal knowledge of the facts set forth below endT _li`
called as a witness, could and would testify competently thereto d

12. Al"ter ht-‘.e.rinnJ numerous presentations l"roi.n Mr. lack t,`.l-in, the _
founder of EFT Holdi_ngs Inc. (“EFT”), thean purchasing the 4
Cotm)nuy"s products in Apr.il 2005. To dete, ] have purchased over
$140,000 Wot*th of EFT products Which, based on representations lfl'r:t-r_n
Mr. Qin, l understood gave me an ownership interest in jl`.l_l?'l`. v

3. Since .lenua.ry 2008, l have been going onto the l_il*`"l`:intc;rnet
website www.efl.b.us (“ISFT website”) to check on my investment in the
Company. Ai’ter entering my account number on the Membershi}j»
Set.:t..ion of the EFT website, l have, in the pest, been able to, emong;,' ot.t'ter
things, review my purchase history end view hundreds oi`news relet:.s.~'es
posted shout the Company. liran the period between .lsnuery` 2003 reid
June I»Z, 2()13, l estimate thatl viewed in excess of 300 different net-tn
releases that were posted on the EFT website These news release s
dismissed among Othet‘ lhings, Mr Qin’s ‘ representations about Eli"l " l:-.u'_td
its 111 oducts investor meetings With Mr. Qin, efforts to list L`P”l“ on the
United States stock exchange end an allotment program set up byl;=`
which nllowed purchasers of Eli 'l` product to acquire an <'>wnersltip
interest in the Company.

4. Since June 2, 2013, the only news releases thatl have henn
able to view on the EFT Website are news releases from 201 3; the 1111 vest

releases that l previously reviewed . for the time period Jmumr_v .’}..ttnl.t un

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_ to end including June 2, 2013, are no longer available anywhere on title
E.F'"l` website.

5. My investigation into potential claims against Mri Qin until
El-"`T is ongoing end not yet completed

l declare under penalty of perjury under the laws oi’the l_`lnitt:»-t|
Ststes of America that the foregoing is true end con‘ect, end that this
I)eclarst:ion is executed by me outside the l_.lnited St.ntes on this § dsy of
July 21113.

   

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